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                                                                                          FORM 4


             UNITED STATES COURT OF INTERNATIONAL TRADE
________________________________________________
                                                 :
HMTX INDUSTRIES LLC,                             :
HALSTEAD NEW ENGLAND CORPORATION, and            :
METROFLOR CORPORATION,                           :
                                                 :
                        Plaintiffs,              :
                                                 :
                        v.                       :  Court No. 20-00177
                                                 :
UNITED STATES OF AMERICA;                        :
OFFICE OF THE UNITED STATES TRADE                :
REPRESENTATIVE; ROBERT E. LIGHTHIZER, U.S.       :
TRADE REPRESENTATIVE; U.S. CUSTOMS &             :  SUMMONS
BORDER PROTECTION; MARK A. MORGAN, U.S.          :
CUSTOMS & BORDER PROTECTION ACTING               :
COMMISSIONER,                                    :
                                                 :
                        Defendants.              :
                                                 :

TO:    The Above-Named Defendants:

       You are hereby summoned and required to serve on plaintiffs’ attorneys, whose names and

address are set out below, an answer to the complaint which is herewith served on you, within 60

days after service of this summons on you, exclusive of the day of service. If you fail to do so,

judgment by default will be taken against you for the relief demanded in the complaint.



                                                  /s/ Mario Toscano
                                                 Clerk of the Court



  /s/ Matthew R. Nicely                          AKIN GUMP STRAUSS HAUER & FELD LLP
 Matthew R. Nicely                               2001 K Street, NW
 Pratik A. Shah                                  Washington, D.C. 20006
 James E. Tysse                                  mnicely@akingump.com
 Devin S. Sikes                                  202-887-4000
 Daniel M. Witkowski
 Sarah B. W. Kirwin
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Dated: September 10, 2020                Counsel to HMTX Industries LLC, Halstead
                                         New England Corporation, and Metroflor
                                         Corporation




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